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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division


UNITED STATES OF AMERICA


V.                                              Criminal No. 3:96cr66-2


DEVON DALE BECKFORD,

        Petitioner.


                           MEMORANDUM OPINION


     By Memorandum Opinion and Order entered on July 5, 2001, the

Court denied on the merits a motion under 28 U.S.C. § 2255 filed

by Devin Dale Beckford.      (ECF Nos. 1660, 1661.)      Since that date,

Beckford has continued to attack his conviction and sentence.            On

February 19, 2019, the Court received from Beckford a "MOTION FOR

RELIEF FROM JUDGMENT PURSUANT TO FED. R. CIV. P. RULE 60(b)(4) AND

60(b)(6).     ("Rule 60(b) Motion," ECF No. 1925.)      In his Rule 60(b)

Motion,^ Beckford argued that the Court should vacate the denial




        ^ Federal Rule of Civil Procedure 60(b) provides, in pertinent
part:

     (b) Grounds for Relief from a Final Judgment, Order, or
     Proceeding.   On motion and just terms, the court may
     relieve a party or its legal representative from a final
     judgment, order, or proceeding for the following
        reasons:



             (4) the judgment is void;

             (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b)(4) & (6).
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